Case: 1:24-cv-05412 Document #: 4 Filed: 07/05/24 Page 1 of 4 PagelD #:23

AO 440 (Rev. 05/00) Summons in a Civil Action

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MAKAILA HARRIS

CASE NUMBER: 1:24-cv-05412

Vv. ASSIGNED JUDGE:
Hon. Martha M. Pacold

LABORATORY CORPORATION OF

DESIGNATED
AMERICA d/b/a LABCORP

MAGISTRATE JUDGE: Hon. Jeffrey Cole

TO: (Name and address of Defendant)

LABORATORY CORPORATION OF AMERICA
d/b/a LABCORP

cio REGISTERED AGENT

ILLINOIS CORPORATION SERVICE COMPANY
801 ADLAI STEVENSON DRIVE

SPRINGFIELD, IL 62703-4261

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Mohammed O. Badwan

Sulaiman Law Group, Ltd.

2500 South Highland Ave., Suite 200
Lombard, [Hinois 60148

an answer to the complaint which is herewith served upon you, 7! days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK. oi

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‘a July 2, 2024

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(By) DEPUTY CLERK DATE
Caseicl: 241-0542 Dosumernt

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Exhibit A

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Cased: 24a 025A Document4-2 Filed: 06/82/24 Bage 4 of & BagelB #:34

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Exhibit B
Case: 1:24-cv-05412 Document #: 4 Filed: 07/05/24 Page 4 of 4 PagelID #:26

ClientCaselD: 7bBI1G CaseRetumnDate: 7/3/24

Affidavit of A PRIVATE INVESTIGATOR

UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

Case Number 4-94 CY.5412
i. JOHN PENNELL

FIRST DULY SWORN ON OATH STATES THAT | AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND
LICENSED AS A PRIVATE DETECTIVE (LICENSE # 115.002074) UNDER THE PRIVATE DETECTIVE ACT OF 2004.

CORPORATE SERVICE

THAT | SERVED THE WITHIN SUMMONS & COMPLAINT

ON THE WITHIN NAMED DEFENDANT LABORATORY CORPORATION OF AMERICA
PERSON SERVED TONYA PURNELL, AUTHORIZED AGENT

BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 7/3/24

That the sex, race.and approximate age of the whom | left the SUMMONS & COMPLAINT
are as follow:

Sex FEMALE Race WHITE Age 53 Height 53" Build = 130% Hair GRAY

LOCATION OF SERVICE 894 ADLAI STEVENSON DR.
SPRINGFIELD, IL, 62703

Date Of Service = 7/3/24 Time of Service 3:30 PM

JOHN PENNELL

A PRIVATE INVESTIGAT
PRIVATE DECTECTIVE # 115.

